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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

BRIDGETT ANTAYA,

       Plaintiff,                                         Case No. 1:17-cv-00871
                                                          Honorable Janet T. Neff
v.                                                        Magistrate Ellen S. Carmody

EXPERIAN INFORMATION SOLUTIONS, INC.,
TRANS UNION, LLC and
NATIONSTAR MORTGAGE, LLC,

      Defendants.
______________________________________________________________________________

                       STIPULATION TO DISMISS
         DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC., ONLY,
                           WITH PREJUDICE

       Plaintiff and Defendant Experian Information Solutions, Inc. (“Experian”), through their

respective counsel, stipulate to the dismissal of Defendant Experian, only, with prejudice and

without costs or attorney fees to either party.



/s/ Mark Alan Linton (by consent)                 /s/ Tamara E. Fraser
Mark Alan Linton (P66503)                         Tamara E. Fraser (P51997)
Attorney for Plaintiff                            Attorney for Defendant Experian
Credit Repair Lawyers of America                  Williams, Williams, Rattner
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                          ORDER TO DISMISS
         DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC., ONLY,
                           WITH PREJUDICE

       The Court having received the parties’ Stipulation, and being otherwise fully advised in

the premises,

       IT IS HEREBY ORDERED that Defendant Experian Information Solutions, Inc., only,

shall be dismissed with prejudice and without costs or attorney fees awarded to either party.

       This resolves the last pending claim and closes this case.



Dated: March 16, 2018                           /s/ Janet T. Neff
                                             ____________________________________
                                             Honorable Janet T. Neff
                                             U.S. District Court Judge
